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 1                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
 2
 3
     In Re:                                 )
 4   PHARMACEUTICAL INDUSTRY                ) CA No. 01-12257-PBS
     AVERAGE WHOLESALE PRICE                ) MDL No. 1456
 5   LITIGATION                             ) Pages 1 - 44
 6
 7
 8                             STATUS CONFERENCE
 9                  BEFORE THE HONORABLE PATTI B. SARIS
                         UNITED STATES DISTRICT JUDGE
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12
13
                                        United States District Court
14                                      1 Courthouse Way, Courtroom 19
                                        Boston, Massachusetts
15                                      June 6, 2007, 10:00 a.m.
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21
22
                                LEE A. MARZILLI
23                         OFFICIAL COURT REPORTER
                         United States District Court
24                       1 Courthouse Way, Room 3205
                               Boston, MA       02210
25                                (617)345-6787
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                                                             Page 2                                                                      Page 4
1    A P P E A R A N C E S:                                                    1   Is that what you view as on the table?
2    For the Plaintiffs:
                                                                               2           MR. SOBOL: Yes, your Honor, and I just want to
3        STEVE W. BERMAN, ESQ. (By Telephone),
     Hagens Berman Sobol Shapiro LLP, 1301 5th Avenue,                         3   check, if you don't mind, your Honor. Mr. Berman, can you
4    Suite 2900, Seattle, Washington, 98101-1090.                              4   hear what's going on?
5        THOMAS M. SOBOL, ESQ., Hagens Berman Sobol Shapiro LLP,
     One Main Street, Cambridge, Massachusetts, 02142.
                                                                               5           MR. BERMAN: I can, your Honor.
6                                                                              6           MR. SOBOL: Nice.
        DONALD E. HAVILAND, ESQ., The Haviland Law Firm, LLC,                  7           THE COURT: Mr. Sobol was most impressed, to your
7    740 S. Third Street, Third Floor, Philadelphia, Pennsylvania,
     19102.                                                                    8   deference.
8                                                                              9           MR. TRETTER: I want to make three things clear at
     For the Defendants:                                                      10   the outset, your Honor. We're not here seeking dismissal of
9
        LYNDON M. TRETTER, ESQ. and THOMAS J. SWEENEY, III,                   11   the case because of the lack of class plaintiff. We are not
10   Hogan & Hartson, 875 Third Avenue, New York, New York, 10022,            12   here to seek a different trial date, to move it out, we're
     appearing for Bristol-Myers Squibb.
                                                                              13   happy with the 23rd. And we're talking to Mr. Green. All of
11
        THOMAS E. DWYER, JR., ESQ., Dwyer & Collora, LLP,                     14   those things are going on. But we are here to talk about
12   600 Atlantic Avenue, Suite 1200, Boston, Massachusetts,                  15   Mrs. Aaronson's claim, and this is something --
     02210, appearing for Bristol-Myers Squibb
13
                                                                              16           THE COURT: Can I just back off just for one
14                                                                            17   minute?
15                                                                            18           MR. TRETTER: Sure.
16
17                                                                            19           THE COURT: I'd be inclined just to allow them to
18                                                                            20   add that woman. I shouldn't say "that woman," but --
19                                                                            21           MR. TRETTER: Mrs. Swayze.
20
21                                                                            22           THE COURT: Mrs. Swayze, and --
22                                                                            23           MR. TRETTER: Can I cut through, your Honor?
23
                                                                              24           THE COURT: Yes.
24
25                                                                            25           MR. TRETTER: If the short answer is "yes," we're


                                                                     Page 3                                                              Page 5
 1                  PROCEEDINGS                                                1   inclined to do the same thing, subject to the same vetting
 2           THE CLERK: In Re: Pharmaceutical Industry Average                 2   process that every plaintiff has to go through. I mean, they
 3   Wholesale Price Litigation, Civil Action No. 01-12257, will               3   gave us one EOB which has a lot --
 4   now be heard before this Court. Will counsel please identify              4            THE COURT: Well, jump in and watch it, but we're
 5   themselves for the record.                                                5   not going to change the trial date. The problem is, listen,
 6           MR. SOBOL: Good morning, your Honor. Tom Sobol,                   6   listen, this case is so huge and so much has been happening,
 7   Hagens Berman Sobol Shapiro, for the class plaintiffs. On                 7   but you did just alert us to the issue or the possible issue
 8   the phone is Mr. Berman.                                                  8   a month before trial. Now, maybe that's when you thought
 9           MR. HAVILAND: Good morning, your Honor. Don                       9   about it, maybe that's when you thought about it, but I'm
10   Haviland, Haviland Law Firm, for the class plaintiffs.                   10   going to -- you'll just have to -- you've got troops of
11           MR. DWYER: Your Honor, Thomas Dwyer for                          11   lawyers, so somebody will just have to go in and look at it
12   Bristol-Myers.                                                           12   before the --
13           MR. SWEENEY: Thomas Sweeney for Bristol-Myers.                   13            MR. TRETTER: I'm happy to do that. If that's the
14           MR. TRETTER: And Lyndon Tretter for Bristol-Myers.               14   answer today, we can cut through and we can move on to the
15           THE COURT: Good. Why are we here today?                          15   other things. I just want the Court to be aware that, you
16           MR. TRETTER: Well, your Honor, we sent a notice of               16   know, when we get this information, it is possible that
17   a lack of class plaintiff.                                               17   Mrs. Swayze -- is that the correct pronunciation of her
18           THE COURT: Right.                                                18   name?
19           MR. TRETTER: And that's why we're here, to discuss               19            MR. SOBOL: Yes.
20   that and a few other housekeeping issues, hopefully, in                  20            MR. TRETTER: -- may have a problem too. I just
21   anticipation of the trial on July 23 with respect to BMS.                21   noted on the EOB that I received, the explanation of benefit
22           THE COURT: Thank you.                                            22   form that I received 5:00 o'clock last night, that she
23           MR. TRETTER: I just want to get a couple things                  23   received her chemotherapy in 2003. The benefit form was
24   out.                                                                     24   processed in 2007. There are all sorts of things that may be
25           THE COURT: I just want to make sure I understand.                25   very strange about this situation.


                                                                                                                               2 (Pages 2 to 5)
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1           THE COURT: Fine. I am simply saying, after five         1            to Schering. You said -- they tried to do the exact same
2    years of litigation or longer, if I have to continue it again  2            thing with respect to Schering.
3    to get someone, I will because these people are all old and    3                    THE COURT: You know, this is so huge, maybe I did
4    they're all dying and they have bad memories.                  4            or maybe I didn't, but even coming to it afresh, they're
5             MR. TRETTER: I agree with that, your Honor, but       5            validly part of Class 2. I forget, do we have any of these
6    we're --                                                       6            organizations who are class representatives also, the --
7             MR. BERMAN: Your Honor, this is Steve Berman. Can     7                    MR. TRETTER: They're out of the case.
8    I pitch in for one second?                                     8                    THE COURT: Are they totally out?
9             THE COURT: Yes.                                       9                    MR. SOBOL: Well, for the damage claims, that's
10            MR. BERMAN: I appreciate that you're going to        10            correct.
11   allow us to add Mrs. Swayze, and we'll make her available for 11                    THE COURT: For damages, I know that, but did
12   deposition. There's two issues, though, that I think that     12            anyone stay in?
13   are raised by this. One is that we still contend -- and I     13                    MR. BERMAN: Just I think there's not against BMS
14   don't know that you want to resolve it today, and we briefed  14            for -- well, let me back up. I think they're in on Class 2
15   this in the pleading we filed yesterday -- that the claims of 15            and 3 only for injunctive relief.
16   these class members still go through 2004.                    16                    THE COURT: Okay, so none of them were with respect
17            THE COURT: I know that's your position, and when I   17            to Class 1.
18   saw your brief, which I actually didn't read till this        18                    MR. BERMAN: Right.
19   morning because I was busy yesterday afternoon, the bottom    19                    THE COURT: I couldn't remember. All right. So
20   line is, I don't know, and I have to think about that.        20            we'll add this woman. What kind of health is she in right
21            MR. BERMAN: Okay. And the second issue is --         21            now?
22            THE COURT: I just have to say, both sides have a     22                    MR. BERMAN: Well, there's two ladies actually.
23   good point. On the one hand, you're saying I only resolved    23            One we mentioned, we think we've got the records ready, but
24   it in the context of Classes 2 and 3, and that's true.        24            we want to make sure. This woman, Ms. Swayze, has Stage 4
25   However, the reasoning behind it was that Congress understood 25            ovarian cancer, and she's very sick, but she's very


                                                                   Page 7                                                                    Page 9
1    at that point how fictitious AWP was. So now I have to                 1    spirited. So we're going to try to gather the documents that
2    decide what impact that has with respect to Class 1. It's a            2    we would normally have turned over as soon as we can. We're
3    really good debate, and I need to think about it.                      3    going to make her available for a deposition, and we're going
4           MR. TRETTER: I think there's even another point,                4    to do this as a trial deposition because we don't know if
5    your Honor.                                                            5    she's going to be able to come to the trial. And we would
6           THE COURT: Which is?                                            6    hope that, given the relative lack of real knowledge that
7           MR. TRETTER: The statutes that the copays were                  7    these people have over the issue, that BMS won't prolong this
8    made under differed. In the class that you certified and you           8    deposition for hours and hours.
9    kept it after summary judgment, the payments were made                 9           MR. TRETTER: Not at all, your Honor. We're very
10   pursuant to the 1997 BBA, and AWP you said had an ambiguous            10   uninterested in giving Ms. Swayze or anybody else a hard time
11   meaning, it wasn't a term of art. In 2003 at the time there            11   in a deposition. We're not going to make arguments about
12   was also published ASPs, there was another statute, a totally          12   whether you're sophisticated, whether you're -- we just want
13   different statute, that said "average wholesale price."                13   the paper trail that shows when they received their
14          THE COURT: I'm sure it's a good argument, it's a                14   chemotherapy, whether they actually paid for the copay out of
15   great argument. I just have to think about it. I mean, I               15   their own pocket, which is what Class 1 is about. We don't
16   read it this morning at 9:00 o'clock. So it's a really good            16   even need to bother her that much. We just need to bother --
17   debate, and I don't need to resolve it right now because it            17          THE COURT: Can we get an affidavit from her saying
18   doesn't matter a whole lot to whatever the trial is going to           18   she paid herself and maybe some verification of the dates
19   be.                                                                    19   through the doctor's office and not have to get her at all?
20          MR. TRETTER: All right, can we talk then maybe                  20          MR. TRETTER: I think the doctor might be more
21   about just the process with respect to this new plaintiff              21   interesting. Now --
22   going forward because we can't wait till the eve of trial.             22          THE COURT: Because, I mean, she's Stage 4. My lay
23          THE COURT: I understand. The other issue is, I                  23   understanding is that that's pretty bad.
24   don't think Sheet Metal has a similar interest, and I --               24          MR. BERMAN: It's not good.
25          MR. TRETTER: You already denied that with respect               25          MR. TRETTER: Yes, look, I don't think that we


                                                                                                                                 3 (Pages 6 to 9)
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1    would take more than a half an hour. I think the plaintiffs            1    done together, and your opinion says this applies to Class 1
2    are saying they want her videotaped so that they can present           2    and Class 2. We moved as defendants, all Track One
3    it at trial.                                                           3    defendants, on Class 1 and 2 simultaneously.
4             THE COURT: Well, see what you can do, but at the              4             THE COURT: I haven't refocused on it until 9:00
5    very least, we must be able to get the doctor. She's                   5    o'clock this morning. It's a great issue. We're going to
6    probably been treating for a long time.                                6    allow you, the plaintiffs, to add Mrs. Swayze. Ideally, if
7             MR. BERMAN: Right, we're getting records, your                7    there's somebody else you want to try and add, you'll do it
8    Honor, from the Valley Tumor Medical Group right as we speak.          8    right away, and you'll just -- I know it's coming up on
9             MR. TRETTER: Exactly. I just want the Court to be             9    July 4 week, so I think July 4 -- when do we start this
10   aware that a lot of times when the plaintiffs think they have          10   trial?
11   it, they don't.                                                        11            MR. BERMAN: July 23, your Honor.
12            THE COURT: I fully -- we've seen that, and I think            12            THE COURT: July 23. So, ideally speaking, people
13   that's fair. It's just the reality is, there needs to be a             13   will respect family time over July 4. So why don't I put a
14   class representative. This is a highly unusual case because            14   ban on depositions the week of July 4 so people can have some
15   people are so old and so sick, and by being old, their                 15   family life because the rest of July will be awful.
16   memories aren't fabulous.                                              16            MR. TRETTER: I would like to have everything done
17            MR. TRETTER: Understood.                                      17   before July 4. I would like to have the hard-copy documents
18            THE COURT: So if we have to continue the trial to             18   or whatever it is by the end of this week.
19   get there, we will.                                                    19            THE COURT: You know, they'll do what they can do.
20            MR. TRETTER: Okay.                                            20   You raised it two weeks ago.
21            THE COURT: But I don't know what to do on the 2004            21            MR. TRETTER: And the doctor, can we get --
22   situation.                                                             22            THE COURT: I don't know. I don't know what the
23            MR. TRETTER: We can brief that separately.                    23   doctor's family plans are. You'll do what you can do.
24            THE COURT: Nobody has -- well, I don't even know              24            MR. TRETTER: Can we have a deposition of the
25   that you need much more briefing.                                      25   physician?


                                                                  Page 11                                                                     Page 13
 1             MR. TRETTER: I don't think we do.                    1                    THE COURT: I don't know. I mean, if we have clear
 2             THE COURT: It's a really important and interesting   2            documents, I don't see why you need --
 3   issue.                                                         3                    MR. BERMAN: There have been no depositions of
 4           MR. TRETTER: And I think the issue for your Honor      4            physicians in this case to date by any defendant.
 5   is not so much what was going on in Congress' mind. The        5                    THE COURT: Why don't you all get on the phone, and
 6   charge that you're going to give the jury is whether BMS was 6              then if there's a real need for it -- I don't want to bother
 7   acting with intent to defraud, but you've got to realize that  7            these people. If there's a crystal-clear paper trail, we'll
 8   any AWPs that are published in the publication at that time    8            go one way. If it's not a crystal-clear paper trail, we'll
 9   are being published simultaneously with ASPs that are going, 9              go on the phone. I'm sure the guy or woman would be willing
10   so the so-called true average is already out there.           10            to talk to you.
11           THE COURT: You've got an excellent argument. My       11                    MR. TRETTER: Right, there may be issues why this
12   only point is, when you say I've ruled on it, sure, but it    12            EOB was not processed till 2007. It looks like it's a signed
13   was in the context of 2 and 3, and I would be the first to    13            claim. I don't know what that means. There are all sorts of
14   say Class 1 wasn't in the forefront of my mind. So let me     14            issues with respect to this --
15   just think about it. You may say it was, but I'm telling you  15                    THE COURT: It's a good point. We'll see. If you
16   it was on the eve of trial on 2 and 3, and I wasn't -- and at 16            can figure it out beforehand, either up or down, if it's an
17   least no one was flat-out vetting that. But the truth is,     17            ambiguity, just work out either a telephone deposition or
18   even if I were to allow another class, which I'm very dubious 18            something that just can clean it up.
19   about at this point, I would have to subclass it because it   19                    MR. TRETTER: We'll try in the first instance. If
20   would be a totally separate set of issues and a separate      20            we have any problem, we'll come back to you quickly.
21   statute. So I'm just not inclined to do that right now, but   21                    THE COURT: Good. I will not be here the last week
22   let me think about it.                                        22            in June. I actually will be around July 4 week, but I think
23           MR. TRETTER: That's fine. One thing to remember       23            what we should -- I don't know, but I'm going to be away with
24   is that when the motion -- the motion practice on summary     24            my family the last week in June, so there it is.
25   judgment went differently from the trial. One and 2 were      25                    Now, is that all we need to do?


                                                                                                                               4 (Pages 10 to 13)
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1           MR. TRETTER: I'd like to bring up two other                       1            THE COURT: Right, and I'm struggling with that
2    issues, one minor and one major. The minor issue is the                  2    actually in Classes 2 and 3, and the issue really is,
3    issue of the joint pretrial brief and the trial briefs, which            3    let's -- I mean, I think that's actually one of the hardest
4    I understand you waived for AstraZeneca, given your                      4    legal issues in the litigation.
5    familiarity with the case. And we would ask, and I know we               5            MR. TRETTER: It is.
6    asked this and it was already denied once --                             6            THE COURT: I mean, there's lots of factually
7           THE COURT: Well, you didn't. You called Mr. Alba                  7    complex issues but in terms of a legal question. So let
8    up on the phone. And even though he is a coequal member of               8    me --
9    the team, it's ideal to actually file a motion.                          9            MR. TRETTER: And it raises a class issue too
10          MR. TRETTER: Well, we were doing this as an agreed                10   because they're proceeding on an alternative liability
11   motion of both sides, and I'd like to make it on the --                  11   theory. If you look at their briefing in Class 2 and 3, they
12          THE COURT: Is it filed?                                           12   say, "Well, Massachusetts recognizes various theories of
13          MR. TRETTER: I'd like to make this motion orally                  13   market share or joint and several," and we disagree with
14   right now.                                                               14   that.
15          THE COURT: Allowed.                                               15           THE COURT: Why don't you come up with evidence of
16          MR. TRETTER: Thank you very much, your Honor.                     16   what your market share is so you can rebut full liability.
17          THE COURT: It's just Mr. Alba, as great as he is,                 17   You could if you wanted to.
18   he actually can't grant the motion on the phone. So                      18           MR. TRETTER: Well, our point is, and we make this
19   basically that's fine. I don't need a pretrial memo.                     19   in our brief, is that even if you look at Massachusetts
20          MR. TRETTER: Or individual trial briefs.                          20   alone -- and now we have a multistate class -- no court has
21          THE COURT: Or individual trial briefs.                            21   ever recognized it in the context of economic loss as opposed
22          MR. TRETTER: Thank you, your Honor.                               22   to a personal injury case. I mean, you have market share
23          THE COURT: I don't need it. What I do need are                    23   theories in lead paint and asbestos and things like that.
24   witness lists. I mean, I need direction.                                 24   Nobody's ever --
25          MR. TRETTER: They're all coming in on Monday.                     25           THE COURT: I agree, it's been primarily product


                                                                    Page 15                                                                    Page 17
1           THE COURT: Any motions in limine?                                  1   liability. As I said, it's one of the hardest, narrow
2           MR. TRETTER: Monday.                                               2   questions. But if you look at the Restatement of Torts on
3           THE COURT: Good, good.                                             3   apportionment, which you can tell I've been working on this
4           MR. TRETTER: Now, here's one thing that I want to                  4   particular issue, so the issue is really, if in fact, though,
5    alert your Honor to that was not involved in AstraZeneca that             5   I'm working out of equity, 93A --
6    is involved in BMS: multi-source drugs. AstraZeneca had one               6            MR. TRETTER: Well, but you're not because you're
7    drug, Zoladex. There was no problem.                                      7   working now on many, many, many state statutes, and we've
8           THE COURT: I agree, that is a killer, and I'm                      8   made this a case -- this is the grand bargain, remember. The
9    sitting thinking about it in the other context as well as we              9   grand bargain for Class 1 is that we're getting rid of the
10   speak. It's a very hard case.                                            10   various state statutes, and we're going with a Restatement
11          MR. TRETTER: We briefed this in connection with                   11   theory of basically common law fraud because deception runs
12   the Class 2 and 3, which is that the only damages with                   12   across all the statutes.
13   respect to BMS drugs are in the period where the drugs become            13            THE COURT: So take fraud. That's --
14   subject to multi-source competition and they break the                   14            MR. TRETTER: So we have to do fraud.
15   Hartman speed limit of 30 percent.                                       15            THE COURT: You do fraud, and then if you do fraud,
16          THE COURT: By a lot.                                              16   fraud --
17          MR. TRETTER: By a lot, let's say, okay. Two                       17            MR. TRETTER: Right, I'm with you.
18   points. You know, we think there are lots of things we're                18            THE COURT: And then if you find a fraud, and then
19   going to be arguing at trial about how multi-source drugs are            19   there's a common base but there's a way of making a divisible
20   different from single-source and the state of knowledge, and             20   injury --
21   whether government intended multi-source drugs to have bigger            21            MR. TRETTER: Now I'm losing you.
22   spreads is one thing. But the issue that I want to raise                 22            THE COURT: In other words --
23   today is an issue that no class plaintiff is able to show in             23            MR. TRETTER: Let's take a --
24   the case of a multi-source drug that he or she was infused               24            THE COURT: Let me just say, I don't intend to
25   with a BMS version of the drug.                                          25   answer to this question, and I'll look forward to your


                                                                                                                                 5 (Pages 14 to 17)
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1    briefing. As you can tell, I'm struggling with it in               1    it, there are no damages in the case. It's something that
2    Classes 2 and 3, but let me ask --                                 2    has to be resolved early. I'm raising it at this status
3           MR. TRETTER: It's a bigger issue in Class 1                 3    conference, which we appreciate, but basically if you get rid
4    because you have 40 states, all of which don't recognize           4    of multi-source --
5    these same theories. The whole -- I understood the grand           5            THE COURT: Suppose I were to do this, though. I'm
6    bargain with respect to a single-source drug. You were going       6    allowed to -- what would I do? I could move it into another
7    to say: Okay, real deception cuts across all these states.         7    thing, another kind of class under another section. So I
8    It rings the bell in every state's statute. Therefore we can       8    could say class -- I'm thinking out loud, so think about
9    have a charge. And we're not like AstraZeneca. We're not           9    this. Let's say if you're not culpable, that's a classwide
10   saying you can't do that.                                          10   finding.
11          THE COURT: What do you call it, the big bargain?            11           MR. TRETTER: That's the fraud, the grand bargain
12          MR. TRETTER: The grand bargain.                             12   idea.
13          THE COURT: The grand bargain.                               13           THE COURT: Yes, you're not culpable under fraud.
14          MR. TRETTER: The grand bargain for the plaintiffs           14   But if you are culpable but I find that it's impossible to
15   was, we're going to have this unique situation because nobody      15   figure out damages state by state, can't I do a liability
16   other than you has had a class action like this.                   16   finding? And then I could farm it out to the states, and
17          THE COURT: I think this is an incredibly important          17   they could figure out damages?
18   issue. I'm struggling with it in the Class 2 and 3                 18           MR. TRETTER: It's not a damages issue, your
19   93A in Massachusetts. I will look forward to your briefing.        19   Honor. The issue is whether somebody who cannot prove that
20   I don't know what I'm going to do. But I do know one thing,        20   they received the good that is at issue --
21   that at least you would be able to, as I understand under the      21           THE COURT: That's where I might not be with you.
22   most gen -- is to demonstrate market share and reduce your         22   For me, the struggle is -- I'll hear you brief it. I'm
23   damages that way, and so I would suggest you put that in.          23   thinking as you're talking because I haven't thought about it
24          MR. TRETTER: Okay, we'll do that, but the thing is          24   this way before. I think you could probably say, let's say,
25   that Dr. Hartman proceeds on a different basis. He doesn't         25   Taxol, which is one of your great drugs, right? Everybody


                                                              Page 19                                                                     Page 21
 1   care about market shares. He proceeds, he says, "Well, I            1   uses it?
 2   estimate that one million units of BMS product got into the         2            MR. TRETTER: Absolutely.
 3   Medicare channel."                                                  3            THE COURT: It's one of the only ones I had
 4           THE COURT: So let me turn to you. I'll obviously            4   actually heard of before I came into this litigation.
 5   take briefing on it. It's a serious issue. It's probably            5            MR. TRETTER: Right, breast and ovarian cancer, and
 6   the most serious legal issue in the case.                           6   it's called paclitaxel, and it went generic in 2000.
 7           MR. SOBOL: Is there currently -- this is a                  7            THE COURT: All right, so I think that most states
 8   question not only to you, your Honor, but also to the parties       8   would be able to say that if there was a finding of deceit
 9   because I'm not actually aware of this. Is there currently a        9   and fraud, that it was likely that they were injured, there
10   vehicle by which this issue can be briefed, either in the          10   were consumers in their state injured, that there was someone
11   context of the upcoming trial or Class 2 or 3 further?             11   in -- what's your market --
12           THE COURT: Well, I think Class 2 and 3 are gone,           12            MR. TRETTER: Well --
13   too far gone on that.                                              13            THE COURT: Excuse me. Will you let me finish?
14           MR. SOBOL: Okay, so that's what I assumed to be            14            MR. TRETTER: Yes, sure.
15   the case.                                                          15            THE COURT: That there was somebody who was
16           THE COURT: But I am --                                     16   injured. Then what's going to be a problem is, what are the
17           MR. SOBOL: So there should be, although the Court          17   damages that flow from that? Now, you could probably figure
18   has waived pretrial briefs by the parties, if the parties          18   that out in a market share theory, if a state would recognize
19   wish to brief this issue before the jury trial, they may.          19   that, on a probability basis, but you're right, it's cutting-
20           MR. TRETTER: We plan on doing an in limine                 20   edge law. And so one way of doing it is putting to a jury --
21   motion. They'll be getting our brief on Monday. I'm just           21   I'm thinking out loud -- liability. If you're exonerated,
22   raising it right now to alert your Honor.                          22   you're exonerated across the country. If you're found
23           THE COURT: Well, it's a very serious, important            23   liable, you could do intent to deceive, causation of some
24   threshold issue.                                                   24   harm to the state. And then if I find that I can't --
25           MR. TRETTER: And the final point is, if we win on          25   because this is one crop I hadn't thought of before when we


                                                                                                                           6 (Pages 18 to 21)
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1    were talking about certifying -- possibly doing something            1    It's a great issue, and it's the thing we go to law school to
2    along the lines of sending it back to each state for an              2    do.
3    analysis of whether or not there's damages. Or I could do it         3           MR. BERMAN: And it's an issue, your Honor, I've
4    myself, I suppose, but I'd just have to make a state-by-state        4    been thinking about this --
5    evaluation.                                                          5           THE COURT: Yes, I'd love to hear from you,
6           And if I found as a court sitting in diversity,               6    Mr. Berman and Mr. Sobol.
7    which is essentially what I am, that in most states -- not           7           MR. BERMAN: I mean, Mr. Tretter has been arguing
8    all states -- but I would have to do something along the             8    his motion here.
9    lines of, if there was no state case law on it, I would              9           THE COURT: Yes, it's good, it's a heads-up. So
10   either send it back to the state, or I would have to say that        10   what do you think? Do you have actual --
11   there's no law that supports that theory of recovery, and            11          MR. BERMAN: The one thing that he hasn't talked
12   just do an injunction or something along those lines. I am           12   about that Dr. Berndt mentioned in his report, almost
13   open to suggestions.                                                 13   anticipated this, is the equity of a situation where the
14          MR. TRETTER: Okay. Sorry for stepping on your                 14   defendants can hide behind the anonymity of these J-Codes and
15   Honor. I do think that this is a threshold issue.                    15   say, "Look, you don't know for a fact it was our drug," and
16          THE COURT: I do.                                              16   basically they can all get away with it. And a court sitting
17          MR. TRETTER: It's not an issue of whether we                  17   in equity, as you will be doing in part, when there's been a
18   committed bad acts and be punished for those bad acts. Most          18   nationwide finding of fraud, assuming there is, we think --
19   every state statute requires actual damage on the part of the        19   and we'll be glad to brief this -- there are lots of ways
20   plaintiff. This is not a parens patriae case where a state           20   that you can in equity find damages on a statewide basis.
21   can come in and say, "We're punishing BMS."                          21          THE COURT: You know what, that's true under 93A
22          THE COURT: Well, help me, though. Why couldn't                22   and under equitable causes of action. My concern is that,
23   they say by the statewide class, when you have something as          23   and it's a well-made point by Mr. Tretter, that I'm sitting
24   well known or well used as Taxol, that it is likely that             24   in common law when I do a fraud case. And so it's a good
25   members of the consumer class were injured in the state of           25   point. I just have to think about it.


                                                                Page 23                                                                      Page 25
 1   Kansas?                                                               1            And it's not just market share theory, by the way.
 2           MR. TRETTER: Well, it's not a matter of                       2   The Restatement of Torts deals with it under joint and
 3   likeliness.                                                           3   several versus whether something's -- and I have been
 4           THE COURT: Why, why?                                          4   struggling with it because it's not so clear.
 5           MR. TRETTER: It's not a matter of whether somebody            5            MR. TRETTER: This is Summer V. Tice, when you have
 6   in Kansas likely received Taxol.                                      6   two shooters -- and they talk about it in law school -- one
 7           THE COURT: Why?                                               7   bullet hits the victim.
 8           MR. TRETTER: It's a question of whether, when                 8            THE COURT: Right.
 9   somebody comes to --                                                  9            MR. TRETTER: That you have to join both
10           THE COURT: Someone in the class.                             10   codefendants in the case. You can't have a theory where, "It
11           MR. TRETTER: Let's take it in the question of the            11   was IVAX or BMS. I'm only going to sue BMS, and it was
12   class plaintiffs, for example. There's going to have to be           12   likely, because of their share, it was BMS." You have to
13   some proof that they received the brand that is BMS's.               13   have, even in the states that allow it --
14   Otherwise, they don't have actual damages.                           14            THE COURT: Excuse me. That's only true -- I've
15           THE COURT: Well, what if there was an 80 percent             15   been reading this stuff recently, so you've sort of got
16   market share?                                                        16   somebody in the middle of it. It's only true if it's an
17           MR. TRETTER: They still have to prove it. What if            17   indivisible injury, like the guy died. What if somebody hit
18   they got --                                                          18   someone in the arm and the other hit someone in leg? Now,
19           THE COURT: Isn't it likely, if there's an 80                 19   obviously this is personal injury. I'm going back to basics
20   percent market share, it was likely more than a 50 percent           20   myself in thinking about it. What if you have somebody -- in
21   shot yours? I don't know. I'm going to think about those.            21   any event, we have to work through what's a divisible injury,
22   I mean, I have no idea what your market share is.                    22   what's an indivisible injury, and I think this is a very
23           MR. TRETTER: It depends on the drug.                         23   difficult legal issue. And what makes it easier in
24           THE COURT: I think it would make a difference to             24   Massachusetts is, I have one state's body of law.
25   me if you were 2 percent market share. So I don't know.              25            MR. TRETTER: Right.


                                                                                                                              7 (Pages 22 to 25)
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1           THE COURT: You're right that I have to think about               1    basic. Most states follow that, and it's at least something
2    it in the context of 48 states.                                         2    that I could look at across the states to see what I could do
3           MR. TRETTER: Well, maybe we should just just await               3    on this.
4    the briefing, your Honor.                                               4           MR. SOBOL: When we do brief it, your Honor, I just
5           MR. SOBOL: Obviously we'll brief whatever it is                  5    want to make clear that our position in terms of it being the
6    that Mr. Tretter wants to file. I will remind your Honor of             6    conduct, not the product, is not an interpretation of joint
7    our fundamental position on this issue, which is that this              7    and several liability. That's an entirely different issue in
8    case is about conduct, not product. And to use sort of a                8    the case, from our perspective. It is the case that if a
9    Johnnie Cochran type phrase, we have to go back to this.                9    defendant on their own -- and it's immaterial whether there
10   It's BMS's conduct at issue --                                          10   were other defendants who also happened to have been
11          THE COURT: You're quoting Johnnie Cochran?                       11   committing a tort at the time. Independently of that, if a
12          MR. SOBOL: It's conduct, not product.                            12   defendant commits conduct that someone relies upon to their
13          MR. DWYER: The late.                                             13   damage, regardless of whether other people did the same thing
14          MR. SOBOL: The late Johnnie Cochran.                             14   or not, they are responsible, period.
15          THE COURT: Does he, like, have a treatise or --                  15          THE COURT: For what? It's the whole what?
16          MR. SOBOL: Well, he doesn't, but --                              16          MR. SOBOL: For the conduct, for the damages that
17          MR. DWYER: He's the treatise.                                    17   was the proximate cause of the lie.
18          MR. SOBOL: In this case, what BMS would like to do               18          THE COURT: Suppose you have 29 generic
19   is say that you have to prove that the consumers consumed our 19             multi-source manufacturers of drugs.
20   product in order to find liability. But that's not what the             20          MR. SOBOL: Right.
21   case is about. The case is about BMS's deception in terms of            21          THE COURT: And one of them is late in the market,
22   the AWP that caused increased inflation regardless of the               22   lies about his price, but is below median and only has
23   product that they purchased. And that's not novel. That's               23   2 percent market share. You're going to say I'm going to
24   classic consumer protection and fraud law. If somebody came             24   impose the entire liability on him?
25   along and lied to me about somebody else's product, and, as a           25          MR. SOBOL: If you can prove -- and this is what


                                                                   Page 27                                                                       Page 29
 1   result, I bought that product, the person who lied to me upon            1   the law says in terms of conduct -- the plaintiffs' burden is
 2   whom I relied would still be liable, even though I did not               2   to prove that the defendant's wrongful acts were a
 3   buy that person's product.                                               3   substantial contributing factor to --
 4           THE COURT: Right, and you made that argument,                    4           THE COURT: How can that by law be a substantial
 5   that's your theory of joint and several liability, but it                5   contributing factor?
 6   only works with an indivisible injury. And here you've got a             6           MR. SOBOL: It probably would not be.
 7   market which is divisible in the sense that someone bought               7           THE COURT: Okay, I'm just saying it's not so
 8   Company X's product. I know your position. You argued it                 8   simple.
 9   the last time. I'm simply saying, Mr. Sobol, I don't know                9           MR. SOBOL: I agree, but the construct is the
10   what I'm going to do. It's a really cutting-edge issue. I               10   causation, substantial contributing factor. It's not joint
11   guarantee, though, there will be a trial. Whether I do it on            11   and several on that conduct versus product theory. That's
12   the whole shmear -- that's a legal term -- or just on part of           12   all the point I was trying to make, and we will brief it.
13   it, I don't know. I have to -- because one way or another,              13           THE COURT: So, Mr. Dwyer?
14   this case has been going so long in the MDL, this will either           14           MR. DWYER: One last point on the Bristol side.
15   settle or go to trial. We'll have a jury finding on the                 15   Preparing the voir dire questions and the proposed
16   intent to deceive, as you say, conduct.                                 16   questionnaire --
17           MR. SOBOL: Conduct.                                             17           THE COURT: I know a practical suggestion.
18           THE COURT: You'll have a jury finding on                        18           MR. DWYER: -- on a case with oncology drugs raises
19   causation. Whether I can adequately under -- he's taking                19   a lot of difficult issues, not just issues that -- there are
20   down every word I've got. I can hear him typing.                        20   nonprivacy questions which I think we should be entitled to
21           MR. BERMAN: Sorry, your Honor.                                  21   get, and I think then obviously there are privacy questions.
22           THE COURT: Whether I can do a damage situation, I               22           THE COURT: I think we should eliminate anyone who
23   don't know. And I'm glad you raised the issue, and I'll have            23   either themselves or a close family member took these drugs.
24   to think about it. I suggest you all help me by mucking                 24           MR. DWYER: Right.
25   through the Restatement of Torts because I think it's that              25           THE COURT: So I think I can ask that without --


                                                                                                                                 8 (Pages 26 to 29)
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1           MR. DWYER: Or a coworker, I was thinking also                 1    Honor.
2    coworker, close friend.                                              2             MR. DWYER: Can I raise another practical issue?
3           THE COURT: Well, propose a few of those. I mean,              3             THE COURT: Yes.
4    I think we've got to be able to discuss -- are most of them          4             MR. DWYER: Whether it's a voir dire question or
5    breast cancer and what else?                                         5    it's a questionnaire, someone says that their wife is being
6           MR. TRETTER: No. There are some that are                      6    treated for breast cancer. I know your usual practice is not
7    testicular. You know, the Etoposide is used for other                7    even to entertain the questionnaires, and I know you're
8    things. So, I mean, there are all sorts of things, head and          8    entertaining at least the thought of it in this case. Have
9    neck. You've got a lot.                                              9    you thought about what your preference would be if the person
10          MR. DWYER: I think one of the other things that               10   says "yes"? Where do we go if the person either raises their
11   we're just trying to raise and see what your reaction is             11   hand to a voir dire question or it's on a questionnaire?
12   today as we get these papers ready for Monday is, then you           12   Have you thought whether you're going to do a lobby inquiry?
13   have a whole class of people who either themselves are               13            THE COURT: I haven't thought about it at all, and
14   beneficiaries of some government program, or a child with            14   I think you can raise it. I mean, I think the reality is, if
15   disability government program, or a mother, you know --              15   somebody's actually taking a drug at issue, they should be
16          THE COURT: Sure.                                              16   off the jury. But if someone's wife has just simply had
17          MR. DWYER: So we've got this whole category of                17   breast cancer and they don't know what drug they used or they
18   people again who are going to bring this whole government            18   used a different drug, I don't think that's, at least my
19   benefit claim issue into the jury room in a way -- does that         19   initial instinct, an automatic disqualifier, as long as they
20   sound like something that --                                         20   look me in the face and say they can be fair and impartial.
21          THE COURT: We need voir dire questions on that. I             21   You can challenge them on a peremptory, but I don't know if
22   may not necessarily exclude them from the jury, but we'd want        22   that's for cause just because -- I mean, almost everybody
23   to know about them.                                                  23   knows somebody who's had some form of cancer. I wouldn't
24          MR. DWYER: Right.                                             24   have a jury.
25          THE COURT: So you put through your voir dire, and             25            MR. DWYER: Well, if in that particular example you


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 1   I'll see what makes sense, because I didn't have to actually         1    just talked about, you'd have the issue of the copay
 2   walk through this with AstraZeneca, and that was only one            2    potentially coming out of the household budget, so again you
 3   drug, and these are multi-drugs.                                     3    have a --
 4            But can I jump to Mr. Sobol and Mr. Berman. As we           4             THE COURT: But if it's a different drug, I don't
 5   were going through the other case, it wasn't clear to us that        5    know. I'll hear you. I don't know. I don't know that I'd
 6   all the drugs -- you don't even discuss all of them with             6    make that an automatic for cause if it was a different drug.
 7   Bristol-Myers.                                                       7    I'd want to hear about whether they thought they could sit
 8            MR. TRETTER: There's a zero --                              8    fairly, though. I mean, between breast, lung, ovarian,
 9            THE COURT: There are about three that you don't do          9    prostate, don't we all know people? So we'd have to be more
10   much with.                                                           10   discrete about that. But I'm willing to entertain -- I'm
11            MR. TRETTER: There's a zero for damages under               11   open. See what you can do.
12   Dr. Hartman's calculation for something called Blenoxane. He         12            When I've done questionnaires in the past, I've
13   zeros that out.                                                      13   limited it to one page so it's simple, and I have them do it
14            THE COURT: Yes, so there are a bunch like that,             14   right in front of me. I do it particularly in child
15   and so -- well, not a bunch but two or three where it was            15   pornography cases or race cases because sometimes people are
16   really questionable, even under the Hartman speed limit. So          16   embarrassed to say certain things; like, you know, do you
17   I think you need to relook through those drugs and see, just         17   have problems with someone of a different race, or do you
18   so that I'm not spinning my wheels on it and it's not                18   have any problems that would prevent you from sitting on a
19   confusing, all these names, to a jury when I'm asking these          19   child pornography case? I suppose we could just ask somebody
20   questions. I don't want to ask people questions about                20   in writing whether or not they have any problems sitting on a
21   diseases that they have if I'm going to end up directing them        21   case involving drugs involved with cancer. We'll see what we
22   out. So I can't remember exactly which they were, but there          22   can do. Have you thought through your voir dire questions?
23   were two or three that were very marginal cases under the            23            MR. SOBOL: Steve?
24   speed limit.                                                         24            MR. BERMAN: Well, we submitted a questionnaire for
25            MR. BERMAN: Okay, we'll take a look at that, your           25   the AstraZeneca trial, your Honor. It's about two pages, and


                                                                                                                               9 (Pages 30 to 33)
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1    we think we pretty much have the same questions here.                  1    know the timetable. It got filed -- the hearing wasn't even
2           THE COURT: Okay. Well, we'll have to go find it.                2    scheduled on the docket, so it all happened very, very
3    One of the problems is, we're up to 4,400 or 4,300 docket              3    quickly. The pleading got filed. The hearing took place
4    entries in this. So what's really useful -- and they're                4    sometime that morning. We turned the brief around in about
5    coming in in all sorts of cases at this point. I'm looking             5    twelve hours just to get the positions that had been
6    at Mr. Haviland because I have to tell you, I did not read             6    discussed --
7    your objections before I did that preliminary approval. You            7            THE COURT: Well, you could have moved for
8    filed them, I don't even know --                                       8    reconsideration. None of the notices had gone out. In any
9           MR. HAVILAND: That morning, your Honor.                         9    event, I'm just saying for the record I hadn't read it,
10          THE COURT: That morning. We hadn't even                         10   so -- and no one here was saying anything, and I -- some of
11   downloaded it. You can't expect that I'm going to instantly            11   the points I don't necessarily agree with, but some of them
12   review that docket and grab them on everything. So some of             12   seem like something I'll want to think about, and so --
13   those objections actually were interesting and something I'm           13           MR. HAVILAND: We made the points to
14   going to want to think about at the final settlement                   14   Special Mediator Green as well, just to try to get them
15   conference.                                                            15   addressed so that it didn't become an outside-the-settlement
16          MR. HAVILAND: I appreciate that, your Honor.                    16   issue. The particular problem we had, your Honor, is that
17          THE COURT: But, you know, if you're going to file               17   the named class representative was not getting a full
18   something an hour before a hearing, even with CM-ECF, you've 18             recovery, and she's entitled to it. It was overlooked.
19   got to give us a call and let us know.                                 19           THE COURT: Well, skip her for a minute because
20          MR. HAVILAND: Your Honor, actually, in that                     20   she's supposed to represent the whole class. Some of the
21   situation we didn't know that the filing was coming that we            21   issues were well taken; you know, why don't I increase the
22   responded to. We had about a 24-hour turnaround, so we did             22   moneys going to class members rather than going to a cy pres
23   the best to get those issues so the Court could have it for            23   fund. I mean, that's a good point.
24   preliminary approval --                                                24           MR. HAVILAND: We think send checks, your Honor,
25          THE COURT: But even if you had a paralegal make a               25   just send them.


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 1   phone call to the clerk saying, you know, "Be watching."               1           THE COURT: Or just send checks. I can deal with
 2           MR. BERMAN: And, your Honor, we're filing a                    2    that at the final analysis. But as far as your -- you're
 3   response to Mr. Haviland's position today because you've               3    separately representing the 2004 person, right?
 4   referred it to the magistrate, and --                                  4           MR. HAVILAND: Could I address just one point on
 5           THE COURT: I have?                                             5    that, your Honor? Your Honor talked about the summary
 6           MR. BERMAN: And Professor Green has also filed                 6    judgment. I just want to make sure. I do represent the
 7   something.                                                             7    Aaronsons, and unfortunately Mrs. Aaronson passed away a few
 8           THE COURT: If I have, I didn't mean to.                        8    months ago, and her husband is very committed to this case.
 9           MR. SOBOL: Yes, it made no sense, your Honor.                  9    He was deposed twice. He expects to be at trial. It's his
10           MR. BERMAN: Well, I think there is a docket entry              10   case. He stepped up two years ago to prosecute this case.
11   referring that to the magistrate.                                      11          THE COURT: Well, he may well be able to be a
12           THE COURT: Referring what?                                     12   witness, but in terms of -- but let me just say, I think
13           MR. HAVILAND: I think Mr. Berman is talking about              13   there's a serious issue here. It's at least a different
14   something else. The issue your Honor was addressing was the            14   statute, and --
15   AstraZeneca settlement and our statement as to the                     15          MR. HAVILAND: And, your Honor, what we don't think
16   preliminary approval, which your Honor did need a brief on --          16   got presented at the time it was briefed because of the
17           THE COURT: Excuse me. I thought what I referred                17   context of the trial, the TPP trial, very late in the
18   to a magistrate judge was the disagreement between class               18   knowledge issues, the consumers were very -- it was kind of
19   counsel over your respective roles on the team. That's                 19   like at the beginning of your Honor's opinion, and then the
20   different from the objections to the preliminary approval in           20   briefing never addressed consumers, the role of consumers,
21   AstraZeneca, which I have to candidly say I did not read               21   the consumer fraud laws that we're suing under and whether or
22   before I walked out there. I didn't know about them. And               22   not this could be an absolute bar to recovery. It was more
23   you never said anything at the proceeding, right?                      23   in the nature of an advisory opinion as we read it from the
24           MR. HAVILAND: Your Honor, I wasn't there. I had                24   consumers' standpoint.
25   gone on vacation, as I had reported to your Honor. We didn't           25          THE COURT: Well, let me say this: There's a very


                                                                                                                                10 (Pages 34 to 37)
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1    serious legal question here. So if I don't have her as part            1    right, Mr. Berman?
2    of the class, that doesn't mean that they can't still sue.             2              MR. BERMAN: Yes, we do, your Honor. We have a
3    It just means it's a separate legal question that's not                3    woman from Michigan who told us that she made out-of-pocket
4    common to the class.                                                   4    payments. We didn't want to represent to the Court that she
5           MR. HAVILAND: Fair enough, for the '04 folks,                   5    was good until we actually saw the documents, but we're
6    understood, your Honor.                                                6    working on that as well.
7           THE COURT: For the '04 folks. So maybe they could               7              THE COURT: All right, so you'll get that as soon
8    just -- it means that there's no class, I'm not certifying a           8    as possible. Is she a little healthier?
9    class, so you could probably enter into your own settlement,           9              MR. BERMAN: I think she is a little healthier. I
10   if that's what the issue happens to be, or I could carve it            10   think she may actually be able to come, but I don't want to
11   off and send her back to North Carolina.                               11   represent that until I get a little better feel for her
12          MR. HAVILAND: The other issue that we put in our                12   health.
13   original paper and then we saw class counsel's filing is               13             MR. SOBOL: If I may, your Honor, there's an issue
14   about the Sheet Metal Workers. We absolutely agree with your 14             that I'm not sure whether or not Mr. Berman and I want to
15   Honor. You've ruled on that time and again. We don't think             15   address. I just sent him an E-mail about it. I want to ask
16   it's appropriate at this juncture to have a TPP come in for            16   if he could just take a look at that because it's important
17   the Class 1 consumers. There's just so many issues right now           17   before now that --
18   between those two groups that to have an existing TPP, for             18             (Pause.)
19   which your Honor did rule back in November, substitute in,             19             MR. BERMAN: Yes, I think you should raise that,
20   but I think your Honor's already decided that.                         20   Tom.
21          THE COURT: It's interesting whether the class                   21             MR. SOBOL: So I think the issue then, in terms of
22   action vehicle actually works for a class like this, where by          22   Aaronson, Mr. Haviland's client, is that I think that we
23   definition everyone is so old and so sick. You know, I know            23   should deal with it in briefing, in the context of the
24   the Supreme Court said that organizations shouldn't be                 24   briefing in the '04 issue, the question as to whether or not
25   allowed to be class representatives for the most part, you             25   Aaronson will or will not be representing the class as a


                                                                  Page 39                                                                     Page 41
 1   know, unless you can prove that individual members took it;            1    whole or only herself. If she goes forward and she with
 2   but I must say we've had a lot of class plaintiffs die just            2    others is representing the class as a whole, then it makes
 3   in the course of this, so it's not an ideal scenario for               3    sense for them all to go forward with the trial in the end of
 4   anybody.                                                               4    July. On the other hand, if you rule that the particular
 5            MR. HAVILAND: It works for this reason: That the              5    circumstances of her having an '04 claim are sufficiently
 6   consumers, the cancer patients, are the ones these defendants          6    different from the balance of the class, then, as class
 7   screwed the most. They're the ones they do not want in this            7    counsel, we would say that we would carve off Ms. Aaronson's
 8   courtroom testifying about what Reverend Aaronson told me              8    claim and proceed forward with the class trial with the
 9   last night, the $13,000 bills he had to see while his wife             9    substitute representatives for '03 and beforehand.
10   was dying in hospice. That's the testimony they do not want            10             THE COURT: All right, let me defer on that. We'll
11   to have. To have it just be a commercial case, the jury                11   see where all this is going, and I need to think about the
12   would never get a sense of that. Or if a TPP and the                   12   big issue.
13   representative that was proffered said, "We just passed those          13             MR. SOBOL: Right. I just wanted to make sure.
14   damages on," there's just not the same flavor. That's what             14   That's an issue we obviously need to resolve before we get to
15   the class action vehicle is all about, to help these folks,            15   impaneling the jury, that's all.
16   these folks that have no voice.                                        16             MR. HAVILAND: Your Honor, just to impress the
17            So I respect your Honor, believe me, more than                17   gravity of that big issue, Mrs. Aaronson is the lone class
18   anyone, having to deal with many, many clients dying and the           18   representative for the GSK classwide settlement, a very, very
19   widows and widowers. It's very difficult to take those phone           19   important issue to us. We believe she had standing at the
20   calls and to continue to work with the clients.                        20   time, and I would not want to see that undermined by anything
21            THE COURT: I agree. I'm just simply saying that               21   that comes in the wake of all this briefing that took place
22   it's just a sense of frustration I have because we're going            22   in the class TPP context, and then all of a sudden we get to
23   to have to deal with this right up against trial, but that's           23   this eleventh hour and, "Oh, consumers have no rights in
24   what we're going to have to do.                                        24   '04," without fulsome briefing because it's a serious
25            You said you had possibly another one, is that                25   question.


                                                                                                                               11 (Pages 38 to 41)
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                                                                Page 42                                                                  Page 44
1             THE COURT: You might want to be looking for                 1    resolve it?
2    another GSK representative to head that off.                         2              MR. TRETTER: No.
3             MR. TRETTER: I'm a little bit confused. I had               3              MR. HAVILAND: You made her a class representative
4    thought that Ms. Aaronson was being substituted for, that was        4    based on that proffer that she still paid based on AWP.
5    the upshot of what we said in the first five minutes.                5              THE COURT: You know, that was maybe three law
6             THE COURT: In the first five minutes, they were             6    clerks ago. I just don't even remember it. There were
7    going to add one, maybe two class representatives, and I took        7    hundreds of, I'd say, technical -- and I don't mean that in a
8    under advisement the very serious argument that she should           8    negative way -- objections to all the class representatives,
9    not be the class representative.                                     9    and at some point we walked through that, and I don't
10            MR. TRETTER: There was also a summary judgment              10   remember. I don't remember the issue. I don't remember if I
11   motion that was made before your Honor's opinion with respect        11   ruled on it. I remember nothing.
12   to Mrs. Aaronson. BMS made a summary judgment motion on              12             MR. TRETTER: All I'm suggesting, your Honor, is,
13   Class 1 on two grounds: One is, she was treated in a                 13   there are a lot of reasons why Reverend Aaronson should not
14   hospital, Presbyterian Hospital. The second is that she              14   represent this class because what's going to happen at the
15   received a charge, a hospital charge, and she paid 20 percent        15   end of the day, whether it's 2004 or some other reason,
16   of the hospital charge. And we put in an affidavit that the          16   there's going to be no claim, just, you know, adjudication on
17   hospital did not charge based on AWP. So her 20 percent was          17   the merits.
18   paid on the hospital charge, and the hospital said no AWP.           18             THE COURT: It's a serious issue. Let's go off the
19   So there are separate issues --                                      19   record.
20            THE COURT: The hospital said that they didn't pay           20             (Discussion off the record.)
21   based on AWP?                                                        21             (Adjourned, 10:55 a.m.)
22            MR. TRETTER: They didn't charge based on AWP. In            22
23   other words --                                                       23
24            THE COURT: You know what, I have no memory of this          24
25   whatsoever.                                                          25


                                                                Page 43
1             MR. TRETTER: It's in our brief. I cite you our              1                  CERTIFICATE
2    brief.                                                               2
3             THE COURT: The new brief?                                   3
                                                                               UNITED STATES DISTRICT COURT )
4             MR. TRETTER: No. This is back -- we have an issue
                                                                          4    DISTRICT OF MASSACHUSETTS ) ss.
5    of Mrs. Aaronson.                                                         CITY OF BOSTON         )
6             THE COURT: You know, I don't have recall.                    5
7             MR. TRETTER: I understand.                                   6
8             THE COURT: So do you remember what docket number             7
9    this was?                                                             8          I, Lee A. Marzilli, Official Federal Court
                                                                           9   Reporter, do hereby certify that the foregoing transcript,
10            MR. TRETTER: I can give you the date of it, your
                                                                          10   Pages 1 through 44 inclusive, was recorded by me
11   Honor, and I can give you the title. This is BMS defendant's         11   stenographically at the time and place aforesaid in Civil
12   reply memorandum of law in support of their motion for               12   Action No. 01-12257-PBS, MDL No. 1456, In re: Pharmaceutical
13   summary judgment dated April 28, 2006. So there are issues           13   Industry Average Wholesale Price Litigation, and thereafter
14   with respect to Ms. Aaronson that go beyond 2004. And what's         14   by me reduced to typewriting and is a true and accurate
15   going to happen, if she were actually here at trial or               15   record of the proceedings.
                                                                          16          In witness whereof I have hereunto set my hand this
16   Reverend Aaronson were here at trial, we would say, for
                                                                          17   8th day of June, 2007.
17   instance, "Reverend Aaronson, your wife actually received the
                                                                          18
18   treatment in a hospital, not in a doctor's office, correct?"         19
19            THE COURT: I'm glad you reminded me. All right,             20
20   let's go off the record.                                             21
21            MR. HAVILAND: Your Honor, if I may just on the              22
                                                                                           /s/ Lee A. Marzilli
22   record, just as a response to that? Your Honor got this
                                                                          23               __________________________________
23   exact same argument in class certification. We showed you
                                                                                           LEE A. MARZILLI, CRR
24   EMBs, EOMBs in processing, so it's been resolved.                    24               OFFICIAL FEDERAL COURT REPORTER
25            THE COURT: I don't remember. Did I expressly                25


                                                                                                                           12 (Pages 42 to 45)
